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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION



       VOLT, LLC, a                                                     Case No. 8:18-cv-01409-EAK-CPT
       Florida limited liability company,

                            Plaintiff,
              v.
       VOLT LIGHTING GROUP LLC,
       an Oregon limited liability company, and
       BRENT NEWMAN, an Oregon resident

                               Defendants.



       PLAINTIFF VOLT, LLC’S CORRECTED1 MEMORANDUM IN OPPOSITION TO
         DEFENDANTS VOLT LIGHTING GROUP, LLC AND BRENT NEWMAN’S
            MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION

            Plaintiff Volt, LLC, hereby opposes Defendants Volt Lighting Group, LLC (“Volt

   Lighting”) and Brent Newman’s (“Newman”) Motion to Dismiss for Lack of Personal

   Jurisdiction [Dkt. 11] (“Motion”), and states as follows:

        I. INTRODUCTION
            In their Motion, Defendants contest both general and specific jurisdiction in Florida.

   Plaintiff agrees with Defendants, based upon current information, that general jurisdiction is

   not applicable. However, specific jurisdiction in this trademark infringement matter is

   clearly available in Florida under Eleventh Circuit precedent, given the unrefuted intentional

   nature of the Defendants’ tortious actions in (1) adopting an infringing trademark with

   1
    Modified from the original Opposition filed at Dkt. 17 only to replace a paragraph that was inadvertently
   duplicated at page 13 (PageID 230) with a different paragraph at page 13, infra.




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   knowledge of Plaintiff’s mark, (2) causing regular and continuous actual confusion, (3)

   refusing to effectively rebrand/intentionally associating their new brand with Plaintiff’s well-

   known brand, (4) disparaging Defendants marks in the process; and then (5) supplying

   infringing content to third-party websites to make infringing products available directly to

   consumers, including Florida consumers, at great injury to Plaintiff, a Florida business.

   Defendants have made clear their intent to continue to cause harm in Florida to both Plaintiff

   and Florida consumers if not stopped by this Honorable Court.


      II. FACTS PERTINENT TO SPECIFIC JURISDICTION

          Plaintiff adopted the Volt trademark in 2008, and promoted it heavily on its

   commercial website, included it on the packaging of its well-received lighting products, and

   within the lighting industry at trade shows and in various widely-circulated advertisements.

   (Brynjolfsson Decl. at ¶4). Through these efforts and at great expense, Plaintiff’s Volt-

   branded website became the highest ranked search engine result for landscape lighting and

   outdoor lighting by 2010. Id. ¶4. Defendant Newman first used Volt in a trademark two

   years after Plaintiff, when he opened a small brick and mortar lighting store in Oregon in

   2010 (Newman Decl. ¶5). This was after Plaintiff’s Volt brand was already well-known in

   the lighting industry. (Brynjolfsson Decl. at ¶4). Newman, however, did not actually use

   “Volt Lighting” as the store name, as he incorrectly states in Paragraph 5. Rather, as shown

   by publicly available information, he used “Volt” alone as the sign on the front of his store

   and on his webpage. (See Matulis Decl. ¶¶4-5 & Exhs. B & C). Even though he had formed

   a corporate entity named Volt Lighting, and acquired a matching website address at




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   www.voltlighting.net, when it came to selecting the trademark for his store, Mr. Newman

   adopted Plaintiff’s exact mark – Volt. Id.

          Notably, Newman does not state in Paragraph 5, or anywhere else in his declaration,

   that he was unaware of Plaintiff’s Volt brand or trademark in 2010 -- only that he was

   unaware of the Plaintiff’s legal entity, Volt, LLC, and the www.landscapelightingworld.com

   website. (See, e.g., Newman ¶¶5, 10-13, at Dkt. 11-1). From 2010 to 2013, Newman sold

   lighting fixtures, as well as outdoor lighting, in his Volt-branded physical store (par 6).

   (Matulis Decl. ¶3 & Exh. A)(attaching 2010 customer review commenting on Volt’s

   “exterior lighting products”). Again in paragraph 14 of his Declaration, Newman does not

   deny that he knew of the confusingly similar Volt trademark, but instead states only: “At the

   time I selected www.voltlighting.net as a domain, I did not identify anyone using Volt

   Lighting.” A review of Mr. Newman’s Corrected Declaration filed in the initial lawsuit

   against Defendant Volt Lighting Group highlights that, rather than denying that he had ever

   heard of Plaintiff or its brand, he is only able to deny that he was aware of Plaintiff’s

   corporate form, i.e., “Plaintiff Volt, LLC.” (Matulis Decl. ¶11 & Exh. I at ¶¶5, 9-11, 15).

   Mr. Newman’s carefully worded Declaration fails to deny the key element of his claimed

   defense – Defendants’ absence of knowledge of Plaintiff’s marks or products sold under it

   when he adopted and continued using his confusingly similar Volt Lighting Group mark.

          Newman closed his brick and mortar stores in 2012 and 2013 (Newman ¶7). He

   states that he transitioned his business name from Volt Lighting to Volt Lighting Group

   during this time, but publicly available information shows that he did not create a Volt

   Lighting Group business or use Volt Lighting Group as a trademark; rather, he merely used a



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   web address of www.voltlightinggroup.com to host a landing page called Volt Lighting

   Group, not as a brand for any products or services, but as a landing page to host links to three

   potential future brands or lighting businesses – LEDdistributing, Artisan fixtures, and Exhibit

   LED – with each brand designated with a “TM” on the landing page. (Compare Newman

   Decl. at ¶7 with Matulis Decl. at ¶6 & Exh. D)

          During this same 2012-2013 timeframe, Plaintiff had acquired trademark rights and

   recognition in “Volt Lighting” as well as “Volt,” and started using www.voltlighting.com as

   a web address for its “Volt” branded website, along with continuing to use

   www.landscapelightingworld.com. (Brynjolfsson ¶4). In other words, a consumer could

   now reach Plaintiff’s website through two different domains, by typing in either

   www.landscapelighting.com or www.voltlighting.com. (Brynjolfsson ¶4). Newman’s

   misleading attempts to argue that www.voltlighting.com would show a redirect message

   (Newman ¶15 & Exh. C) or would land on an unbranded website (Newman ¶15 & Exh. D)

   have been completely refuted by Alan Brynjolffson’s Declaration and should carry no weight

   in the Court’s analysis. Brynjolfsson ¶5-8). The unrefuted facts show that Plaintiff had a

   top-ranked website accessible by typing in www.voltlighting.com in 2013, well before the

   Defendants started their Volt Lighting Group business in 2014, and even by the time

   Newman started using www.voltlightinggroup.com as a mere landing page.

          As to the facts concerning Defendants’ alleged “rebranding,” rather than rebrand and

   inform the confused public that they were changing their name from Volt Lighting Group to

   Kelvix, Defendants redirected all traffic at their www.voltlightinggroup.com web address to

   a new website with a “pop up” message that announced Kelvix as “a new chapter for Volt



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   Lighting Group. (Matulis ¶10 & Exh H). Further, they utilized Plaintiff’s yellow-gold brand

   color in the announcement, or a shade very similar to it, and invited all consumers, including

   all of Plaintiff’s confused customers, to bookmark the site. Id. Despite demand, Defendants’

   refused to change the announcement to “Kelvix, formerly Volt Lighting Group” or similar

   words that would designate the change as a rebrand, or to modify their colors to be less like

   the colors in Plaintiff’s brand. (Matulis ¶12). At the same time, Defendants denigrated

   Plaintiff’s Volt trademark on its website, further targeting Plaintiff and falsely stating their

   reasons for adopting Kelvix. Specifically, Defendants’ published on their new website an

   “About Us” page that included the following:

          Much has changed over the past fourteen years, including Volt Lighting Group.
          The common word Volt has become extremely saturated online as it is used
          tens of millions of times. We felt our name no longer represented the
          progressive company we have become within a very crowded space. Inspired
          by our vast matrix of Kelvin offerings, Kelvix is a short, relevant, and unique
          name that we can grow with, and that customers can easily find and access.

   (Matulis ¶8 & Exh. F). None of these facts, all of which were pled in the Complaint and

   provide a jurisdictional basis founded on intentional tort, as established below, are denied by

   Newman. Rather, he only provides conclusory denials, such as “At no point during the

   rebranding did I or Kelvix have any intent to harm Plaintiff or to otherwise infringe any of

   Plaintiff’s purported trademark rights.” (Newman Decl. ¶18; see also ¶¶18-19, 55-56). Nor

   does Newman deny that there have been numerous instances of actual confusion among

   customers – both before and after Defendants’ “rebranding” – or that he is, and was, aware of

   this confusion.

          Why would a company that claims to only want to sell through agents, and not a

   website, (Newman ¶¶39-46) risk such brash infringing behavior in the midst of a lawsuit-


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   compelled rebranding process? The answer may lie in the fact that in connection with the

   launch of Kelvix, Defendants have begun supplying infringing content to third-party, “direct

   to the customer” websites, which sell these products branded as “Volt Lighting Group –

   Kelvix”, (another co-brand rather than rebrand) and thus make their products available

   directly to customers over the internet. (Matulis Decl. ¶9 & Exh. G). In December, 2017,

   Defendants also filed an application to register Kelvix as a trademark for use in conjunction

   with “light fixtures, lighting systems, and electrical power supplies” in International Class 011,

   and “custom lighting design services” in International Class 042. (Matulis ¶7 & Exh E).

   Notably, Kelvix did not seek a registration of Kelvix for use with only “custom-made linear

   LED lighting systems,” or even LED strip lighting and LED fixtures generally, which they

   assert is all they sell. (Newman ¶37). Nor did Kelvix limit its application to the “business-

   to-business” channel of trade. Id. These broad categories would encompass most of

   Plaintiff’s products and services. This is important, as Newman testified in his Declaration

   that other than “rebranding” and changing its formal name to Kelvix, LLC, Defendants’

   “business has not otherwise changed.” (Newman ¶3.).

          Plaintiff has continued to experience confusion and mistaken association with

   Defendants (Brynjolfsson Decl. at ¶9-14) despite – or possibly because of – Defendants’

   claimed “rebranding”.

      III.APPLICABLE LEGAL STANDARDS

          Though a Defendant challenging jurisdiction may refute the prima facie allegations of

   the Complaint with evidence and shift the burden to the Plaintiff to come forward with

   evidence of its own, not every declaration submitted by a defendant will automatically shift



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   the burden back to the plaintiff. As the Eleventh Circuit has explained, “[t]o shift the burden

   back to the plaintiff, a defendant's affidavit must contain ‘specific factual declarations within

   the affiant's personal knowledge.’” Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339,

   1351 (2013) (citations omitted). Conclusory denials or narrowly worded denials that do not

   respond to the numerous specific allegations of the Complaint may not shift the burden back

   to the Plaintiff at all. Id. Further, any conflicts in evidence are to be construed in favor of

   plaintiff, where it is reasonable to do so. See, e.g. PVC Windoors, Inc. v. Babbitbay Beach

   Const., N.V., 598 F.3d 802, 810 (11th Cir. 2010).

           Personal jurisdiction is a two-part question in the Eleventh Circuit. First, the Court

   must find that personal jurisdiction exists under the state’s long-arm statute, applying state

   law. Second, the Court must analyze whether the due process requirements of the federal

   constitution are satisfied. Id.


               a. LONG-ARM STATUTE

           The Florida “long-arm” statue permits the exercise of jurisdiction over nonresident

   defendants who commit a tortious act within Florida. Fla. Stat. §48.193(1)(b). A federal

   court may exercise this long-arm jurisdiction to the extent it is consistent with federal due

   process. Licciardello v. Lovelady, 544 F.3d 1280, 1283 (11th Cir. 2008). The Eleventh

   Circuit has adopted the broad interpretation of the Florida courts that allows personal

   jurisdiction over a nonresident defendant who commits a tort outside of Florida that causes

   injury in Florida. Id. citing Posner v. Essex Ins. Co., 178 F.3d 1209, 1216 (11th Cir. 1999).

   Therefore, regardless of where the actions creating infringement took place, jurisdiction is

   proper if injury is caused in Florida. In cases involving intentional trademark infringement


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   of a Florida party’s trademark rights, Florida courts have found injury in Florida if the

   website is accessible in Florida, and therefore the Eleventh has done so as well. Id. 1283-84.


              b. DUE PROCESS

          Due process requires that the defendant have minimum contacts with the forum state

   and that the exercise of jurisdiction over the defendant does not offend “traditional notions of

   fair play and substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).

   The Eleventh Circuit uses a three-part test to decide whether the minimum contacts

   requirement is met: “(1) the contacts must be related to the plaintiff’s cause of action; (2) the

   contacts must involve some act by which the defendant purposefully avails itself of the

   privilege of conducting activities within the forum; and (3) the defendant’s contacts with the

   forum must be such that the defendant should reasonably anticipate being haled into court

   there.” Vermeulen v. Renault, U.S.A., Inc., 985 F.2d 1534, 1546 (11th Cir. 1993) (citation

   omitted). In the alternative, the Court may apply the Calder “effects” test to determine if due

   process is met. Calder v. Jones, 465 U.S. 783 (1984). “Under the “effects” test, to qualify as

   a sufficient basis for jurisdiction, the tort must have been ‘(1) intentional; (2) aimed at the

   forum state; and (3) caused harm that the defendant should have anticipated would be

   suffered in the forum state.’” DCS Real Estate Invs. LLC v. Bella Collina Events LLC, 2015

   WL 628586, at *3 (M.D. Fla. Feb. 12, 2015) (citations omitted). Under this standard,

   jurisdiction may be exerted over a non-resident defendant who has engaged in purposeful

   conduct creating a “substantial connection” with the forum state, even if the conduct is

   limited to a single act. Licciardello v. Lovelady, 544 F.3d at 1285. “Intentional torts are such




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   acts, and may support the exercise of personal jurisdiction over the nonresident defendant

   who has no other contacts with the forum.” Id.

          In a case involving trademark infringement over a website, the infringing use of a

   mark on a website accessible in Florida is sufficient to establish that the claim is related to

   defendant's contact with Florida. Lovelady, 544 F.3d at 1284-85 n.4. In a case involving

   defamation or trade libel, “allegedly defamatory material about a Florida resident placed on

   the Web and accessible in Florida constitutes an “electronic communication into Florida”

   when the material is accessed (or “published”) in Florida.” Internet Sols. Corp. v. Marshall, 39

   So. 3d 1201, 1206 (Fla. 2010). Applying Calder v. Jones, 465 U.S. 783 (1984), courts assessing

   allegations of trademark infringement have “consistently found the minimum contacts

   inquiry satisfied because trademark infringement is an intentional tort directed toward the

   state in which the plaintiff is domiciled.” R & R Games, Inc. v. Fundex Games, Ltd., 8:12-

   CV-01957-T-27, 2013 WL 784397, at *4 (M.D. Fla. Mar. 1, 2013)(citing cases).

          In Licciardello v. Lovelady, 544 F.3d 1280, 1283 (11th Cir. 2008), the plaintiff sued a

   Tennessee resident for trademark infringement in the Middle District of Florida, alleging the

   defendant posted the plaintiff's trademarked name and picture on a website accessible in

   Florida. Id. at 1282. Noting that the defendant's conduct was intentional and calculated to

   cause harm in Florida, the Eleventh Circuit held that the defendant had sufficient contacts

   with Florida under Calder. Id. at 1287–88. “District courts in the Middle District have

   followed this rationale.” R & R Games, 2013 WL 784397, at *4 (citing cases).

          Finally, to determine if exercising jurisdiction over a defendant does not offend

   notions of fair play and substantial justice, courts consider of the following factors: (1) the


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    burden on the defendant; (2) the forum’s interest in adjudicating the dispute; (3) the

    plaintiff’s interest in obtaining convenient and effective relief; and (4) the interstate judicial

    system’s interest in resolving the dispute. Burger King Corp. v. Rudzwicz, 471 U.S. 462, 477-

    78 (1985).

                 c. THE CORPORATE SHIELD DOCTRINE DOES NOT APPLY TO
                    INTENTIONAL TORTS
              Further, in Florida, a defendant’s actions as a corporate officer can provide a basis for

    personal jurisdiction over the individual in cases of intentional tort. Doe v. Thompson, 620

    So. 2d 1004 n.1)(stating exception to corporate shield doctrine in cases of fraud and

    intentional misconduct). In the Louis Vuitton case, the Eleventh Circuit unequivocally held

    that trademark infringement was an intentional tort to which the corporate shield doctrine did

    not apply. See Louis Vuitton, 736 F.3d at 1354-55. Thus, Defendant Newman’s corporate

    shield defense to person jurisdiction fails.

        IV.      ARGUMENT

                 a. BINDING LEGAL PRECEDENT ESTABLISHES THE BOTH VOLT
                    LIGHTING GROUP AND NEWMAN ARE SUBJECT TO THIS
                    COURT’S JURISDICTION
              Given the egregious facts established and unrefuted above, and the legal standards for

    specific jurisdiction in the Eleventh Circuit for satisfying the Florida long-arm statute as well

    as Due Process in cases analogous to the case at bar - intentional trademark infringement

    through website cases - specific jurisdiction is warranted as to all Defendants in Florida.

    Specifically, Defendants have persisted in knowingly and purposefully infringing Plaintiff’s

    trademark rights, in the face of ongoing and regular actual confusion, even after being sued.

    Defendants cannot and have not denied confusion or infringement. They have not and cannot



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    deny that they have utilized Plaintiff’s brand colors in the launch of Kelvix. They cannot and

    have not denied that they have refused to clearly state on their website and third-party sites

    that Volt Lighting Group changed its name to Kelvix. They cannot and have not denied that

    confusion is ongoing since they launched Kelvix. They cannot and have not denied that they

    falsely stated on the new Kelvix website, as the reason for launching Kelvix, that Volt had

    lost its value as a distinctive mark, as alleged at paragraph 52 of the Complaint. They cannot

    and have not denied that they are supplying infringing content to third party websites, as

    alleged in paragraph 54 of the Complaint and demonstrated by the CESCO website

    screenshot attached as Exhibit G to the Matulis Declaration.

           Rather, the Newman Declaration only presents conclusory denials of no intent, and

    such denials that do not respond to the numerous specific allegations of the Complaint do not

    shift the burden of proof back to the Plaintiff or refute the jurisdictional allegations. Louis

    Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1351 (2013) (citations omitted). Further,

    Mr. Newman’s denials as to knowledge of Plaintiff prior to 2016, even if plausible, cannot

    negate the ongoing tortious and intentional behavior from 2016 – 2018.

           Defendants contend that since customers cannot order directly from their website,

    there is no jurisdiction over them. In Licciardello, the defendant also did not provide for

    goods or services to be purchased directly through the website. Like our case, the website in

    Licciardello misappropriated the name and reputation of the Plaintiff for commercial gain,

    and this is enough. Further, since Defendants have provided infringing content to third party

    web sites that do sell directly to customers, and have not refuted or attempted to refute this

    allegation, this argument fails factually as well as legally.



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            For the due process inquiry, “fair warning” is satisfied if the defendant has

    “purposefully directed” activities at residents of the forum, and the litigation arises from

    alleged injuries that relate to those activities. Keeton v. Hustler Magazine, Inc., 465 S.Ct.

    770, 774 (1984). In cases such as the case at bar, where the Defendants have limited

    connections to the state, all that is required for specific jurisdiction is purposefully

    established ‘minimum contacts’. Id. In addition to the infringing activities purposely

    directed at Plaintiff for gain, Defendants have had continuous sales into Florida from 2014 to

    the present. These sales are not de minimis, and some of them were made when a Florida

    sales agent contacted them, presumably finding them through their website. See Newman

    Decl. at ¶51, 53. This establishes that they have almost certainly generated sales into Florida

    through their website. At the very least, discovery should be conducted to evaluate such a

    claim if the Court deems it necessary for jurisdiction.

            However, this Court can dispense with the jurisdictional question without discovery,

    because in a case involving trademark infringement over a website, the infringing use of a

    mark on a website accessible in Florida is sufficient to establish that the claim is related to

    defendant's contact with Florida. Lovelady, 544 F.3d at 1284-85 n.4. In a case involving

    defamation or trade libel, “allegedly defamatory material about a Florida resident placed on

    the Web and accessible in Florida constitutes an “electronic communication into Florida”

    when the material is accessed (or “published”) in Florida.” Internet Sols. Corp. v. Marshall, 39

    So. 3d 1201, 1206 (Fla. 2010). In Calder, the Supreme Court set forth the “effects test” for Due

    Process, under which “the fact that the actions causing the effects in [the forum state] were

    performed outside the State did not prevent the State from asserting jurisdiction over the cause of




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    action arising out of those effects.” 465 U.S. at 787. Thus, under Calder, intentional torts can

    support jurisdiction over a nonresident who has no other contacts with the forum.

    “Applying Calder, courts assessing allegations of trademark infringement have consistently

    found the minimum contacts inquiry satisfied because trademark infringement is an

    intentional tort directed toward the state in which the plaintiff is domiciled.” R & R Games,

    Inc. v. Fundex Games, Ltd., 8:12-CV-01957-T-27, 2013 WL 784397, at *4 (M.D. Fla. Mar.

    1, 2013)(citing cases).

            As to fair play and substantial justice, the Eleventh Circuit instructs that a Florida

    plaintiff, such as Volt, LLC, injured by the intentional torts of nonresident Defendants should

    not be required to go to the Defendants’ state for redress. Licciardello, 544 F.3d at 1288

    (citing U.S. Supreme Court in Calder). Further, “Florida has a very strong interest in

    providing relief to Florida parties injured by the intentional misconduct of nonresidents. Id.

    (emphasis added.) Defendants market and sell products all over the United States, including

    Florida. (See Newman Exhs. J & K, reflecting numerous product sales throughout the United

    States, including to companies located in Florida). Defendant Newman’s attempt to

    characterize these sales as “coincidental” in paragraph 54 of his declaration is not meaningful

    in this analysis. It is not overly burdensome for Defendants that have such an extensive

    national business, given the convenience of modern air travel and electronic

    communications, to be haled into another state to answer for intentional misconduct. It is

    reasonable, well within Florida and Eleventh Circuit specific jurisdiction law, Constitutional,

    and perhaps most importantly, it is just.




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               b. THE CASES CITED BY DEFENDANTS ARE EITHER NOT BINDING,
                  DISTINGUISHABLE, OR MISCHARACTERIZED IN THE MOTION
           Defendants have cited no binding legal precedent factually analogous to the case at

    bar to refute jurisdiction. See, e.g., Bristol-Myers Squibb Co. v. Superior Court of CA, 137 S.

    Ct. 1773, 1779-80 (2017)(a product liability case where jurisdiction was denied because none

    of the injured plaintiffs were residents of the forum); Hinkle v. Continental Motors, Inc., 268

    F. Supp. 3d 1312, 1322-23 (M.D. Fla. 2017)(products liability case wherein the court found

    no injury in Florida because the crash took place in another forum); Organic Mattresses, Inc.

    v. Envtl. Res. Outlet, Inc., 2017 WL 5665354 (S.D. Fla. Oct. 6, 2017)(inapplicable trademark

    case where jurisdiction was denied because infringing material did not appear on the

    defendants’ main website, but rather on a blog site which contained 300 articles and the

    infringing matter only appeared in the title of one of the articles, and on another newly

    launched site that had very little content and very few visitors).

           Defendants have also argued that they have not purposely availed themselves of the

    benefits of Florida under BTG Patent Holdings, LLC v. Bag2Go GmbH, 193 F. Supp. 3d

    1310, 1318 (S.D. Fl 2016), indicating the case states that sales into Florida through national

    agents is insufficient for jurisdiction under § 48.193(1)(a)(2). The BTG court made no such

    statement or holding. Rather, the BTG court found jurisdiction lacking because the BTG

    Plaintiffs were Nevada entities, therefore, the injury from trademark injury would be in

    Nevada, not Florida. Further, the defendants in BTG did not operate an infringing website

    accessible in Florida.

           WHEREFORE, Plaintiff VOLT respectfully requests that this Honorable Court deny

    Defendants Volt Lighting Group, LLC and Brent Newman’s Motion to Dismiss for Lack of


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    Personal Jurisdiction, or, in the alternative, withhold adjudication on the Motion and allow

    Plaintiff to undertake limited discovery on the issue of Defendants’ contacts with the forum

    and knowledge of Plaintiff’s Mark, and supplement this response.



       Dated: August 13, 2018


                                                         Respectfully submitted,
                                                       /s – James Matulis/       .
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                                  CERTIFICATE OF SERVICE

           I hereby certify that on the 13th day of August, 2018, the foregoing was
    electronically filed with the Clerk of Court through the CM/ECF system that will give
    notice to all parties of record.

                                                              /s/James Matulis
                                                              James Matulis, Esq




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